
The People of the State of New York, Respondent, 
againstStanley Moore, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Joanne D. Quinones, J.), rendered December 29, 2011, convicting him, upon a plea of guilty, of loitering (Penal Law § 240.35[6]), and imposing sentence.




Per Curiam.
Judgment of conviction (Joanne D. Quinones, J.), rendered December 29, 2011, affirmed.
In view of defendant's knowing waiver of his right to prosecution by information, the accusatory instrument only had to satisfy the reasonable cause requirement (see People v Dumay, 23 NY3d 518 [2014]). The allegations that defendant was observed inside a specified subway station selling and offering to sell a "two dollar Metrocard" in exchange for cash, without permission or authority to sell access to the subway system or to be present for the purpose of commercial transactions, were sufficient for pleading purposes to establish reasonable cause to believe that defendant loitered or remained in a transportation facility for a commercial purpose (see Penal Law 240.35[6]). Contrary to defendant's present contention, the accusatory instrument was not defective because it failed to allege the length of time that defendant was present in the station (see People v Hunter, 28 NY2d 769 [1971]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur 
Decision Date: March 24, 2016










